                                    CASE 0:09-cr-00219-DWF-SRN Doc. 6 Filed 08/17/09 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                      )              COURT MINUTES - CRIMINAL
                                                               )                BEFORE: Jeanne J. Graham, 3B
                                         Plaintiff,            )                   U.S. Magistrate Judge
                                                               )
   v.                                                          )    Case No:            CR 09-219 DWF/SRN
                                                               )    Date:               August 17, 2009
Pastor Sanchez-Martinez,                                       )    Time Commenced:     11:45 a.m.
                                                               )    Time Concluded:     11:50 a.m.
                                         Defendant.            )    Time in Court:      5 Minutes
                                                               )
                                                               )


                 : DETENTION HRG/ARRAIGNMENT

APPEARANCES:
   Plaintiff:                     Richard Newberry, Assistant U.S. Attorney
   Defendant:                     Doug Olson
                                  : FPD : Appointed

   Interpreter / Language:                       Esperanza Lopez-Dominguez/Spanish

On         : Indictment

: Deft Ordered Detained - Govt to submit proposed order



Additional Information:
 Defendant also arraigned. See separate minutes.

                                                                                                              s/ Joan Flood
                                                                                                         Criminal Duty Clerk




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